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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN



 UNITED STATES OF AMERICA,

         Plaintiff,
 v.                                                                    Hon. Janet T. Neff

 FRANCISCO GERARDO MONREAL-                                            Case No. 1:20-cr-00126
 HERNANDEZ,

         Defendant.
 ________________________________/

                            REPORT AND RECOMMENDATION

       Pursuant to W.D. Mich. LCrR. 11.1, I conducted a plea hearing in the captioned case on

September 18, 2020, after receiving the written consent of defendant and all counsel. There is no

written plea agreement. At the hearing, defendant FRANCISCO GERARDO MONREAL-

HERNANDEZ entered a plea of guilty to the Indictment charging defendant with being an alien

who had previously been removed after having been convicted of a felony offense, found in the

United States without having obtained the express prior consent of the Attorney General or the

Secretary of Homeland Security to return or reapply for admission, in violation of 8 U.S.C. §§

1326(a), 1326(b)(1). On the basis of the record made at the hearing, I find that defendant is fully

capable and competent to enter an informed plea; that the plea is made knowingly and with full

understanding of each of the rights waived by defendant; that it is made voluntarily and free from

any force, threats, or promises; that the defendant understands the nature of the charge and

penalties provided by law; and that the plea has a sufficient basis in fact.
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       I therefore recommend that defendant's plea of guilty to the Indictment be accepted and

that the court adjudicate defendant guilty. Acceptance of the plea, adjudication of guilt, and

imposition of sentence are specifically reserved for the district judge.

Dated: September 18, 2020                                      /s/ Sally J. Berens
                                                              SALLY J. BERENS
                                                              U.S. Magistrate Judge

        OBJECTIONS to this Report and Recommendation must be filed with the Clerk of Court

within 14 days of the date of service of this notice. 28 U.S.C. § 636(b)(1)(C). Failure to file

objections within the specified time waives the right to appeal the District Court’s order. See

Thomas v. Arn, 474 U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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